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                                        ATTACHMENT 2

                                        To Consent Decree

                                   United States v. Maietta
                                   Enterprises, Inc., Maietta
                                Construction, Inc., and M7 Land
                                           Co., LLC

      SCOPE OF WORK FOR WETLAND RESTORATION AND MITIGATION


A.        GENERAL PROVISIONS.

        This Attachment generally describes the activities comprising the injunctive relief

 required by Section VI of the Consent Decree in the matter of United States v. Maietta

 Enterprises, Inc, Maietta Construction, Inc., and M7 Land Co., LLC (the "Consent Decree").

 It provides the requirements for the restoration, mitigation, and monitoring work to be

 performed by Maietta Enterprises, Inc. and Maietta Construction, Inc., (hereinafter

 collectively referred to as “Defendants”) at 150 Pleasant Hill Road, Scarborough, Maine.

 The portions of the Site subject to the requirements set forth in this Scope of Work are

 shown on Attachment 1 to the Consent Decree.

        1. All restoration, mitigation, monitoring and other work described herein shall be done

            in accordance with a work plan (“Work Plan”) developed pursuant to Section H,

            below, by an appropriately licensed engineer, qualified wetland scientist, and licensed

            aquatic weed control specialist and shall be implemented under the supervision of

            such professionals or other appropriate professionals as mutually agreed to by the

            United States and Defendants. The Work Plan shall be subject to the United States

            review and approval pursuant to Section I, below. Portions of the Site not otherwise

            subject to the requirements set forth in this Scope of Work may be used for other

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             purposes, subject to applicable federal, state, and local laws and regulations.

B.      Project Area A – Stormwater Management and Protective Buffer

        Defendants shall create a sloped vegetated upland buffer in Project Area A, as generally

depicted on Exhibit 1hereto, and implement stormwater controls as follows:

        1. The sloped vegetated buffer shall be constructed entirely in Project Area A, shall be

             built at a slope of not more than 2:1, and no less than 50 feet in width.

        2.   The sloped vegetated buffer shall be designed by an appropriately licensed engineer.

             Best management practices set forth in the Maine Department of Environmental

             Protection (“ME DEP”) Erosion and Sediment Control Best Management Practices

             (BMPs) Manual for Designers and Engineers (October 2016) and the ME DEP

             Stormwater BMP Manual shall be followed, as appropriate, to ensure stability and to

             maximize the buffer’s ability to control stormwater, erosion, and sedimentation. The

             sloped vegetated upland buffer shall be amended with suitable natural or manmade

             topsoil and hydro-seeded with a soil stabilization mix and stabilizing emulsion.

        3. Defendants also shall develop a stormwater management plan and install permanent

             measures, as appropriate, such as soil infiltration basins, fencing, or berms.

C.      Project Area B (4.8 Acres) - Wetland Restoration

        Defendants shall establish through restoration no less than 4.8 palustrine forested and

scrub-shrub wetland acres in Project Area B with micro-topography characteristic of the

undisturbed freshwater forested wetland in Project Area D. However, subject to United States

approval, Defendants may over-excavate up to 1 acre in the southern portion of Project Area B,

which is currently dominated by invasive Common reed (Phragmites australis), to create an

open water ponded area. If an open water ponded area is approved by the United States, the



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wetland acreage to be restored in Project Area B shall be correspondingly reduced. Restoration

work in Project Area B shall comply with the following technical specifications and

performance standards as well as the technical specifications and performance standards set

forth in Section G, below, and in the Work Plan.

        1. All construction debris and other fill shall be removed from Project Area B and

            Project Area B shall be regraded, excavated, or over-excavated, as necessary, to

            establish wetland hydrology and accommodate the addition of suitable topsoil, if and

            as needed, to support hydrophytic vegetation. Final elevations of the restored wetland

            shall be determined by the grade of undisturbed reference wetlands in Project Area D

            and/or by excavating down to undisturbed native topsoil, buried under the fill

            material. Graded surfaces shall be left rough rather than graded smooth to simulate

            naturally occurring micro-topography characteristic of the surrounding undisturbed

            reference wetlands. If there is evidence of significant compaction of the underlying

            native soils, the soils shall be loosened/tilled prior to seeding.

        2. Consistent with Section G.2 below, Defendants shall develop and implement an

            invasive species management plan in consultation with a licensed aquatic weed

            control specialist. Such management plan shall have the goal of removing and

            controlling the return of existing invasive species, including Phragmites.

        3. No less than 4.8 acres in Project Area B shall be seeded with native wetland

            conservation seed mix and planted with native hydrophytic scrub/shrub and tree

            species in densities of 500 trees and shrubs per acre. Scrub/shrub and tree species shall

            be no less than 18 inches in height, and must have a Northcentral and Northeast

            regional indicator status of FAC, FACW, or OBL as defined by the U.S. Army Corps



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            of Engineers’ 2016 National Wetland Plant List dated 5/12/16 (hereafter “2016

            Wetland Plant List”), provided, however, that the combination of scrub/shrub and tree

            species planted in Project Area B reflects the natural diversity of native wetland

            species present in Project Areas C and D.

        4. In order to control the spread of Phragmites and other invasive species through

            competition and shading, up to 2 acres of Project Area B may be planted with native

            evergreen species in densities of 500 or more stems per acre. Evergreen species shall

            be no less than 18 inches tall and at least 50% of the evergreen species planted shall

            be FAC, FACW, or OBL, as defined by the 2016 Wetland Plant List. The location for

            any such evergreen plantings shall be identified in the Work Plan and is subject to

            United States approval.

        5. If a ponded area is to be created in Project Area B, Defendants shall identify the

            proposed location of the ponded area in the Work Plan and describe the method by

            which such pond will be constructed. The banks of the pond shall be graded steeply in

            order to reduce opportunity of invasive species re-establishment along the banks. The

            appropriate grade shall be determined in consultation with a qualified engineer.

            Additionally, where feasible due to steep grading, the shoreline and immediate

            borders of the ponded area shall be seeded with a native wetland conservation mix,

            and planted with native evergreen species in densities of 500 or more stems per acre

            in order to control the spread of Phragmites and other invasive species, through

            competition and shading. Evergreen species shall be no less than 18 inches tall and at

            least 50% of the evergreen species planted shall be FAC, FACW, or OBL, as defined

            by the 2016 Wetland Plant List.



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        6. Any portion of Project Area B not ponded or planted with native evergreen species

            shall be planted with native wetland scrub/shrub or tree species consistent with the

            technical specifications set forth in Section C.3, above.

D.      Project Area C (1.2 Acres) – Wetland Restoration and Enhancement

Defendants shall restore and enhance 1.2 wetland acres in Area C through invasive species

management and spot removal of fill, as follows:

        1. Allow existing native hydrophytic vegetation to mature and repopulate along

            existing trajectories, except as indicated in Section D.2, below. In areas where fill

            material is interfering with establishment of native vegetation, all construction

            debris and other fill material shall be removed down to the buried, native hydric

            topsoil and planted with wetland species.

        2. Consistent with Section G.2 below, Defendants shall develop and implement an

            invasive species management plan in consultation with a licensed aquatic weed

            control specialist. Such management plan shall have the goal of removing and

            controlling the return of existing invasive species, including Phragmites.

E.      Project Area D (7.5 Acres) – Mitigation in Largely Undisturbed Wetlands

        1. Block historic drainage ditches at down gradient end with suitable soil medium and

            seed the ditch with a native wetland seed mix.

        2. Consistent with Section G.2 below, Defendants shall develop and implement an

            invasive species management plan in consultation with a licensed aquatic weed

            control specialist. Such management plan shall have the goal of removing and

            controlling the return of existing invasive species, including Phragmites.

F.      Preservation and Use Restrictions (Approximately 14.5 Acres)

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        Defendants shall establish an enforceable Conservation Easement, as described below,

 to permanently protect all portions of the Site subject to the injunctive relief requirements set

 forth in this Attachment.

        1. The total acreage subject to the conservation easement shall be no less than 14.5

            acres and shall include the vegetated protective buffer/storm water infrastructure in

            Project Area A and the wetland restoration/mitigation areas in Project Areas B, C,

            and D. SeeExhibit 2 hereto (Map of Conservation Easement).

        2. The Conservation Easement shall ensure that wetlands, including the hydrology,

            habitat, and water quality benefits thereof, as well as the sloped vegetated buffer

            and open water areas, if any, are preserved in perpetuity.

        3. The Conservation Easement shall include prohibitions on the building of structures

            and the performance of timbering, farming, and grazing activities; restrictions on

            mowing and clearing of vegetation (other than for invasive species management,

            the removal of dead wood and the protecting of human safety); restrictions on

            draining or filling wetlands; prohibitions on the use motorized vehicles, except for

            use in planting, maintenance, and management of the desired habitat; a requirement

            that the sloped vegetated buffer be properly maintained; and any other restrictions

            and requirements necessary to achieve the purposes of the Conservation Easement.

            Defendants shall establish the Conservation Easement pursuant to the Uniform

            Conservation Easement Act, Title 33 Maine Revised Statutes Annotated

            (“M.R.S.A.”), Sections 476-479C, or other applicable Maine law if the Uniform

            Conservation Easement Act is not appropriate. The Conservation Easement shall be

            finalized and properly recorded no later than 6 months after completion of active


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            construction measures on the Site, unless the United States has agreed in writing to

            an extension of this time. The Conservation Easement shall be enforceable under

            Maine law, and granted in favor of a governmental or not-for-profit entity approved

            in writing by the United States and authorized to hold such an interest pursuant to

            33 M.R.S.A. Section 476(2) (“Easement Holder”). The Conservation Easement

            shall grant the United States a third-party right of enforcement as defined by 33

            M.R.S.A. Section 476(4).

        4. Prior to establishing the Conservation Easement, Defendants shall submit a draft

            conservation easement to the United States for review and approval. The draft

            conservation easement shall be submitted to the United States no later than 4

            months after completion of final grading of the Site and construction of the

            vegetative buffer and associated storm water management infrastructure. Following

            approval by the United States, Defendants shall use best efforts to finalize the

            Conservation Easement promptly, and record it in the manner required by 33

            M.R.S.A. Section 477. Defendants shall mail a copy of the final Conservation

            Easement to the United States within 60 days of its recording.

G.       Technical Specifications

        The Work Plan shall include technical specifications and performance standards

including, but not limited to, specifications and standards for hydrology, topsoil composition

and depth, plantings, seeding, erosion control, control of invasive species, and other factors

necessary to ensure that the required restoration and mitigation work achieves the goals set forth

above for each project area. The technical specifications and performance standards of general

application set forth below, as well as the technical specifications and performance standards


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specific to a particular project area shall be included in the Work Plans required by Section H.

Any additional technical specifications and performance standards shall be approved by the

United States pursuant to Section I, and for wetland areas, must be consistent with the Corps of

Engineers New England District Compensatory Mitigation Guidance dated September 2016

(“Corps Mitigation Guidance”). 1

           1. Upland Buffer. All soils used for the planting media on the upland vegetative

buffer shall have a sufficient carbon content to support the establishment of vegetation

(approximately 4-12% carbon, or 7-21% organic matter on a dry weight basis). Percentage of

organic carbon and/or organic matter in the work plan shall be tailored to reflect the needs of

the specific vegetation to be planted. Use of on-site soil is permissible provided it meets this

criteria and subject to United States approval. Planted areas must also be amended with a

mulch layer having a minimum thickness of 3 inches.

        Vegetative cover must be established to at least 85% areal coverage of both woody and

herbaceous species combined, and maintained during the monitoring period set forth below,

unless the United States approves a different density standard based on site conditions. The

type of vegetation used in the filter strip is subject to the United States approval, and must

utilize dense growth patterns such as turf-forming grasses and dense forest floor vegetation.

            2. Wetland Areas. Defendants shall successfully establish the wetland acreage and

wetland classes specified in Sections C through E herein. Upon completion of the fourth year

monitoring period, all wetland areas restored, enhanced, or otherwise established pursuant to


        1 The purpose of the Corps Mitigation Guidance is     to provide guidance on the restoration and mitigation
        requirements for wetlands in New England. The Corps Mitigation Guidance acknowledges the need for
        flexibility and states that variances are permissible to reflect site specific conditions. In the event of an
        inconsistency between the Corps Mitigation Guidance and this Attachment or an approved work plan
        developed pursuant to this Attachment, the terms of this Attachment or approved work plan shall control.


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this Attachment shall, at a minimum, meet the federal wetland criteria outlined in the Corps of

Engineers Wetlands Delineation Manual dated January 1987 (“Corps Delineation Manual”), the

Regional Supplement to the Corps of Engineers Wetland Delineation Manual—North Central

and Northeast Region (version 2.0) dated January 2012 (“Corps Northeast Regional

Supplement”), and the 2016 Corps Compensatory Mitigation Guidance.

                        a. Hydrology: The Work Plan shall include a detailed grading plan

                      intended to replicate pit and mound topography. After completion of the

                      earthwork necessary to achieve required surface elevations, the water table

                      shall be within 12 inches of the surface for a period of consecutive days that

                      is at least 14 days during the growing season. For the purposes of this

                      Attachment, and consistent with the Corps Northeast Regional Supplement,

                      the growing season shall be determined by the median frost free dates of 28

                      degree Fahrenheit (-2.2 degrees Celsius) air temperature in spring and fall

                      based on long-term records gathered at the National Weather Center

                      meteorological stations and reported in WETS tables available from the

                      Natural Resource Conservation Service National Water and Climate Center

                      at http://www.wcc.nrcs.usda.gov/climate/wetlands.ht1ml.

                      b. Vegetation: Defendants shall submit a detailed planting plan to the

                      United States for approval with the relevant Work Plan that effectuates the

                      goals and technical standards for wetland and other vegetation in each

                      Project Area. In addition, the planting plan shall incorporate, as appropriate,

                      the following technical specifications: (1) species used in conjunction with

                      the restoration and mitigation required by this Attachment shall be selected



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                      based on their value as habitat to native wildlife species and their ability to

                      stabilize disturbed areas; (2) the planting of woody vegetation in all Project

                      Areas shall be done by hand to help assure successful establishment.

                      At the end of the monitoring period, Project Area B shall have at least 500

                      native woody stems per acre and an 80% areal coverage of both woody and

                      herbaceous species combined, unless the United States approves a different

                      density standard based on site conditions. In addition, at least 50% of the

                      woody species must (1) have an indicator status of FAC, FACW, or OBL as

                      defined by the Corps of Engineers 2016 Regional Plant List and (2) the

                      combination of woody species planted present in the creation areas shall

                      reflect the natural diversity of wetland species present in appropriate

                      undisturbed reference areas.

                      c. Invasive Species Control Plan (“ISCP”). The Work Plan shall include an

                      ISCP developed in consultation with a qualified wetland scientist and

                      licensed aquatic weed control specialist. The ISCP shall include measures

                      for the control of invasive species that are listed within the Corps

                      Compensatory Mitigation Guidance. Specifically, the ISCP shall provide a

                      detailed strategy to remove and prevent the reestablishment of Phragmites,

                      Multiflora rose (Rosa multiflora), and Japanese knotweed (Fallopia

                      japonica) on the Site. The ISMP shall be designed to ensure that upon

                      completion of the monitoring period, invasive species shall be present in no

                      more than 5% of the vegetated areas of the Site.




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H.     Work Plan

     No later than 60 calendar days from entry of the Consent Decree, a detailed Work Plan

 for performing the restoration, mitigation, monitoring and other work required by this

 Attachment shall be submitted to the United States for approval. The Work Plan shall be

 developed by an experienced wetland scientist, and, as necessary, an appropriately licensed

 professional engineer and/or qualified hydrologist. The Work Plan shall include, in addition

 to the above-stated requirements, the following:

       1. Detailed Description of Work. A detailed description of the restoration and

           mitigation work to be performed in each Project Area.

                a. For Project Area A, the Work Plan shall contain a detailed description of

                    the work to be performed to create the sloped vegetative buffer, including

                    stabilization and planting plans, engineering plans, as well as a stormwater

                    management plan identifying the location and type of permanent

                    stormwater control measures to be implemented.

                b. For Project Area B, and any portion of Project Area C to be restored to

                    wetland status, the Work Plan shall include a detailed grading plan intended

                    to replicate pit and mound topography and support wetland vegetation, a

                    detailed planting plan, and concise technical specifications and ecological

                    performance standards including, but not limited to, specifications and

                    standards for hydrology, hydric soils, plantings, seeding, erosion control,

                    control of invasive species, coarse woody material and other factors

                    necessary to ensure that the required restoration and mitigation work

                    achieves the goals set forth above for each Project Area.



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                                i.   If a ponded area is to be created in Project Area B, the Work

                                     Plan shall identify the location of such pond, describe the

                                     method by which the pond shall be constructed, and set forth

                                     technical specifications and performance standards

                                     applicable to the pond and the evergreen plantings

                                     surrounding the pond.

                c. For Project Area D, the Work Plan shall contain a detailed description of

                    the work to be performed to block the historic drainage ditches, including

                    location, height, and type of material used to maintain wetland hydrology in

                    the ditches and surrounding soils.

       2. Erosion and Sedimentation Controls. The Work Plan shall detail the type, timing,

           placement, and maintenance of erosion and sedimentation controls to prevent the

           transport of sediments and other pollutants into protected resources, surface waters,

           and off the Project Areas.

       3. Appropriate Supervision. The Work Plan shall specify that (1) restoration activities

           involving earth moving for the purpose of establishing wetland areas shall be

           supervised in the field by a wetland scientist with experience in wetland restoration

           and construction and wetland hydrology and/or a qualified engineer experienced in

           wetland restoration; (2) restoration activities involving planting and seeding shall be

           supervised by a wetland scientist with a working knowledge of botany in addition to

           experience in wetland restoration and construction and wetland hydrology; (3)

           activities involving invasive species control shall be performed in accordance with

           an invasive species control plan (ISCP) prepared in consultation with a licensed



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           aquatic weed control specialist; (4) construction of the sloped vegetated upland

           buffer shall be performed in accordance with plans prepared by and under the

           supervision of an appropriately licensed engineer; (5) the stormwater management

           plan shall be prepared and implemented under the supervision of an appropriate

           consultant; and (6) all of the professionals described above shall be retained to

           supervise and conduct monitoring after the restoration/mitigation activities are

           completed.

       4. Schedule for Completion. The Work Plan shall include a schedule for completion.

           The schedule shall be phased to ensure that construction of the sloped vegetated

           upland buffer in Project Area A, and implementation of stormwater control

           measures are completed prior to restoration of wetland areas in Project Area B. In

           addition, the schedule shall state that all earth work and planting required by this

           Attachment shall be completed no later than October 2023.

       5. Construction Status Reporting. The Work Plan shall include a reporting plan to

           assess the progress of the work required by this Attachment, and to assess the

           success of such work in relation to the goals and standards set forth herein and in

           the applicable work plan. At a minimum, the construction status reporting plan shall

           require Defendants to submit to the United States the following:

                            a. Construction Status Reporting: Defendants shall provide the

                                United States with monthly status reports for each Project Area

                                via email during periods of active construction and planting

                                phases of the injunctive relief required by this Attachment. Such

                                monthly status reports shall include a (1) description of work



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                                undertaken during the reporting period, (2) a description of any

                                problems encountered, and (3) a description of and schedule for

                                actions taken, or to be taken, to address problems encountered.

                                Alternatively, status reports required under this section may be

                                provided on any other schedule proposed by Defendants and

                                accepted in writing by the United States.

                            b. Construction Completion Report: The Work Plan shall require

                                Defendants to submit a Construction Completion Report with

                                surveyed as-built plans for the sloped vegetative upland buffer in

                                Project Area A, and all wetland areas restored, mitigated, or

                                otherwise established pursuant to this Consent Decree in Project

                                Areas B and C. As-built plans shall be submitted to the United

                                States within 60 days after completion of active construction

                                measures in a given Project Area, and shall be prepared and

                                certified by an appropriately licensed surveyor. In addition, the

                                Construction Completion Report shall provide technical

                                documentation of on-site stormwater management and

                                stabilization of the sloped vegetative upland buffer. The

                                Construction Completion Report shall include supporting

                                documentation, such as photographs, field notes, analytical data

                                confirming the properties of materials used to construct the

                                buffer strip, and other documentation appropriate to establish

                                compliance with the plans and technical specifications detailed



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                                above.

                6. Wetland Monitoring and Corrective Actions: Defendants shall, under the

                Work Plan, submit to the United States for approval a Wetland Monitoring Plan

                consistent with the Corps Mitigation Guidance that requires technical

                documentation of the presence of wetland hydrology, hydric soil indicators and

                hydrophytic vegetation for all wetland areas restored, mitigated, or otherwise

                established in each Project Area pursuant to the Consent Decree. The Wetland

                Monitoring Plan shall include an adaptive management program and

                remediation recommendations that provides early indication of potential

                problems and directions for corrective action to be taken subject to the United

                States approval. Monitoring of wetland areas shall be conducted annually

                during the growing season (May-October) for at least six (6) full growing

                seasons following seeding and planting. Monitoring will take place twice per

                season during the first through fourth years following planting. One visit will

                take place in the spring, and will include a general site walk and assessment of

                general site health, an assessment of any winter damage and in order to

                determine any correction needs. A second visit will take place between June

                and October to assess plant mortality/vitality and to gather data for the annual

                monitoring reports.

                                         a. Annual Monitoring Reports. Defendants shall submit

                        by December 31st of each year, annual monitoring reports assessing the

                        success of the work required by this Consent Decree in relation to the

                        goals and standards set forth herein and in the applicable Work Plan



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                        consistent with the requirements of the monitoring plan.

                                The success of the mitigation will be evaluated at the end of

                            year four to determine if additional corrective measures are

                            necessary. At the end of the fourth year monitoring period,

                            Defendants shall submit a monitoring report supported by technical

                            documentation demonstrating that the technical and performance

                            standards for wetland establishment, hydrology, vegetative survival

                            and cover rates, and invasive species control set forth in this

                            Appendix and in the relevant Work Plan have been met. Such report

                            shall summarize the original or modified restoration and mitigation

                            goals, discuss the level of attainment of these in each Area, and

                            describe significant problems and solutions during construction and

                            maintenance (monitoring) of the restoration and mitigation Areas.



                 Provided the site meets the success criteria identified within the Work Plan,

        the fourth year will be the final monitoring year during which full reports are provided.

        Two additional site visits will be made, once during the fifth and once during the sixth

        year following construction. Truncated reports will be provided during these years,

        including general information on site health and photographs.

              b. Corrective Actions

                       If the Site does not achieve all of the success standards set forth in Section

        G of this Attachment or the Work Plan, or if it is clear that the objectives of the

        restoration and enhancement areas have not been met, the United States may require



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        corrective actions outlined below, and may extend the monitoring period by up to three

        years to ensure the presence of wetland hydrology and vegetation in all wetland acreage

        in all Project Areas to be restored, mitigated or otherwise established by this Attachment.

                      - Vegetated Buffer: Defendants shall provide evidence establishing the

        continued stability of the sloped vegetated upland buffer in Project Area A and successful

        stormwater management. The United States may require minor regrading or planting if

        evidence, such as channelized flow and/or slope erosion, indicates slope instability on the

        vegetative buffer. All vegetation must be dense and healthy. If vegetation has greater

        than 50 percent damage, the area must be reestablished in accordance with the original

        specifications and the inspection requirements presented below.

                      - Vegetation: The United States may require remedial re-vegetation

        measures for any portion of the Area B not meeting the survival and cover rates set forth

        above by year four, including but not limited to, the following:

                        i. re-seeding with a native inland wetland conservation mix;

                        ii. planting with native wetland scrub-shrub or trees species in densities to

                        achieve not less than 500 stems per acre, unless the United States has

                        approved otherwise. All such plantings shall be no less than 18 inches in

                        height;

                        iii. extension of the monitoring period by no more than three years for re-

                        seeded or planted areas to ensure successful establishment of vegetation in

                        the re-seed and/or re-planted areas; and

                        iv. minor re-grading or other hydrologic remedial actions based on

                        monitoring reports.



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             Defendants shall, in consultation with the United States, prepare a remedial planting

             plan for any portion of Area B not meeting the performance standards for survival

             and cover rates set forth above by this time. Such remedial planting plan shall be

             submitted to the United States for review and approval with the fourth-year

             monitoring report.

                      - Invasive Species: the United States may require remedial measures for any

                      Area specified in Sections B through E herein, not meeting the invasive

                      species performance standard set forth above, by including but not limited

                      to, the following:

                        i. re-evaluation of ISMP;

                        ii. extension of the monitoring period by no more than 3 years

                c. Extension of Monitoring Period: The monitoring period may be extended by

                up to three (3) years, as the United States deems necessary, to ensure the

                presence of wetland hydrology and vegetation in all wetland areas to be restored

                or otherwise established pursuant to this Attachment.

                7. Permitting: It is Defendants’ sole responsibility to obtain all federal, state,

                and local permits and approvals necessary to complete the injunctive relief

                required by this Consent Order. The Work Plan shall identify the relevant

                federal, state, and local permits and approvals necessary for completion of the

                work required, and provide a schedule for timely attainment of all such permits

                and approvals. the United States will assist as appropriate in conversations with

                state and local authorities to facilitate state and local permitting for United

                States-approved activities.

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I.      Work Plan Approval and Modification.

       1. Within a thirty (30) calendar days after receipt of a work plan or other item

           submitted to the United States for approval under this Attachment, the United States

           shall in writing either: (a) approve, in whole or in part, the work plan or other

           submission; (b) approve, in whole or in part, the work plan or other submission,

           upon specified conditions; (c) modify, in whole or in part, the work plan or other

           submission to cure deficiencies; (d) disapprove, in whole or in part, the work plan or

           other submission, directing that Defendants modify the submission; or (e) any

           combination of the above.

       2. If the submission is approved, Defendants shall take all actions required by the

           submission in accordance with the schedules and requirements of the submission, as

           approved. If the submission is conditionally approved or approved only in part,

           Defendants shall, upon written direction from the United States, take all actions

           required by the approved portion of the submission that the United States determines

           are technically severable from any disapproved portions, subject to Defendants’

           right to dispute only the specified conditions or the disapproved portions pursuant to

           Section VIII of the Consent Decree.

       3. If the submission is disapproved in whole or in part, Defendants shall, within 30

           days or such other time as the Parties agree to in writing, correct all deficiencies and

           resubmit the submission for approval, in accordance with the preceding Paragraphs,

           unless Defendants dispute the basis for the disapproval, in which case Defendants

           shall invoke the dispute resolution provisions in Section VIII of the Consent Decree.



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       4.     The 30-day period to cure applies only to deficiencies identified by the United

              States in accordance with this Paragraph. If the resubmission is approved in whole

              or in part, Defendants shall proceed in accordance with the preceding Paragraph.

       5. If a resubmitted work plan, or portion thereof, is disapproved in whole or in part, the

              United States may again require Defendants to correct any deficiencies, in

              accordance with the preceding Paragraphs, or may itself correct any deficiencies,

              subject to Defendants’ right to invoke the dispute resolution provisions in Section

              VIII of the Consent Decree.

       6. At any time after the United States approves a Work Plan, the United States or

              Defendants may propose modifications to an approved Work Plan. Proposed

              modifications are subject to the United States approval process set forth above in

              Section I.1 and I.5. and, after approval, may be incorporated into Work Plan upon

              without further action the Court. The Parties shall resolve any disputes regarding the

              proposed modifications pursuant to Section VIII of the Consent Decree.

       7. Defendants shall carry out all restoration, mitigation, monitoring and other work

              required by this Attachment in accordance with the Work Plan as approved by the

              United States, including any subsequently incorporated modifications, and the

              schedule set forth therein unless it can be demonstrated to the United States’

              satisfaction that weather constraints or other unpreventable occurrences prevented

              the work to occur on schedule.

J.    ACCESS:

            Defendants shall provide reasonable access to the Site, and exert their best efforts to

obtain reasonable access to any off-Site areas to which access is necessary to implement the



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work detailed in this Attachment. Defendants shall provide access to all records and

documentation reasonably related to the conditions at the Site and restoration and

compensatory mitigation work activities conducted pursuant to this Attachment. Such access

must be provided to the United States, the Corps, and ME DEP, and to their employees,

contractors, and representatives. These individuals shall be permitted to move freely at the Site,

and, if access is granted thereto, appropriate off-Site areas, in order to conduct actions which

the United States determines to be necessary to ensure the successful implementation and

evaluation of the injunctive relief set forth in this Attachment. While on Site, the United States,

Corps, and ME DEP will exercise due care and act in accordance with all applicable safety

policies and procedures.




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Exhibit 1 to SOW: Maietta Wetland
Restoration and Mitigation Areas
                Area A (Sloped Vegetated Buffer): > 50 feet
                Area B: 4.8 acres
                Area C: 1.2 acres
                Area D: 7.5 acres
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                                                              EPA Wetland Boundary   Toe of Slope based on Soil Borings
                                                                                                                                            Site features courtesy
                                                                                                                                              Sebago Technics
                                                                                                                                            Basemap: ESRI and the
                                                                                                                                              GIS User Community
                                                                                                                                            US EPA R1 GIS Center
                                                                                                                                            Map #12117, 6/11/2020
                                  Case 2:21-cv-00131-JDL Document 3-3 Filed 05/14/21 Page 23 of 23           PageID #: 71
                  Exhibit 2 to SOW: Map of
                 Conservation Easement Area
                               Area A (Sloped Vegetated Buffer): > 50 feet
Conservation
                               Area B: 4.8 acres
 Easement
                               Area C: 1.2 acres
   Area
                               Area D: 7.5 acres
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                                                                                                                                              GIS User Community
                                                                                                                                            US EPA R1 GIS Center
                                                                                                                                            Map #12117, 6/11/2020
